Case 3:15-cv-01022-MJR Document 10 Filed 11/23/15 Page 1 of 2 Page ID #100




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

COMMODORE JACKSON,                        )
No. R59842,                               )
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )        Case No. 15-cv-01022-MJR
                                          )
TAYLOR GODINEZ,                           )
WARDEN SPILLER,                           )
WARDEN GAETZ,                             )
WARDEN PFISTER,                           )
ED HUNTLEY,                               )
C/O ROELANDT,                             )
C/O MILLER,                               )
C/O BELFORD,                              )
C/O BELL,                                 )
C/O COPELAND,                             )
C/O LARSON,                               )
C/O ROE,                                  )
C/O RANKING,                              )
LT. FRENCH,                               )
MAJOR PRENTICE, and                       )
UNKNOWN MAILROOM STAFF AT                 )
PINCKNEYVILLE C.C.,                       )
PONTIAC C.C. AND                          )
WESTERN ILLINOIS C.C.,                    )
                                          )
                   Defendants.            )


                      JUDGMENT IN A CIVIL CASE
      This action came before the Court, Chief Judge Michael J. Reagan, pursuant to 28

U.S.C. § 1915A and was dismissed with prejudice.

      JUDGMENT IS HEREBY ENTERED AGAINST Plaintiff Commodore Jackson.

The action is DISMISSED with prejudice. Plaintiff shall recover nothing and remains



                                     Page 1 of 2
Case 3:15-cv-01022-MJR Document 10 Filed 11/23/15 Page 2 of 2 Page ID #101




obligated to pay the full filing fee. This dismissal shall count as one of Plaintiff’s

allotted “strikes” under 28 U.S.C. § 1915(g).

       DATED: November 23, 2015

                                                JUSTINE FLANAGAN,
                                                ACTING CLERK OF COURT


                                                By: s/ Tanya Kelley
                                                       Deputy Clerk



APPROVED: s/ MICHAEL J. REAGAN
         Michael J. Reagan
         Chief Judge
         United States District Court




                                        Page 2 of 2
